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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA


REX A. COUGHENOUR,                            )
                                              )
                       Plaintiff,             )       Civil Action No. 16-1415
                                              )
        v.                                    )       Judge Cathy Bissoon
                                              )
THE CITY OF PITTSBURGH, et al.,               )
                                              )
                       Defendants.            )



                                CASE MANAGEMENT ORDER

        IT IS ORDERED that compliance with the provisions of Local Rule 16.1.B shall occur as

follows:

        1.      The parties shall exchange initial disclosures required by Rule 26(a)(1) on or

before May 4, 2018.

        2.      The parties shall file any motion to add new parties on or before June 1, 2018.

        3.      The parties shall file any motion to amend the pleadings on or before June 1,

2018.

        4.      The parties have elected early neutral evaluation as their preferred form of

Alternative Dispute Resolution. An early neutral evaluation before Kenneth Benson will take

place on or before June 25, 2018.

        5.      The parties shall complete all fact discovery on or before September 28, 2018.

All interrogatories, notices of deposition, requests for admission and requests for production

shall be served within sufficient time to allow responses to be completed and served prior to
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the close of discovery and within sufficient time to allow the completion of depositions prior

to the close of discovery.

        6.      Additionally, the discovery deadline will be extended only by leave of court for

good cause shown, and upon motion filed prior to the date on which discovery closes.

The motion shall state the reason(s) for the requested extension and shall enumerate with

specificity any previous extensions of discovery. The filing of a motion to dismiss or other

dispositive motion generally will not stay discovery. Likewise, participation in an ADR process

will not stay discovery.

        7.      Counsel for the parties must confer on discovery disputes, consistent with the

Court’s Local Rules, prior to seeking the Court’s intervention. If counsel for the parties cannot

resolve the dispute, the parties must contact the Court to set up a conference in an effort to

resolve the matter, rather than filing a formal discovery motion. For discovery disputes that arise

during a deposition, the attorneys together may contact the Court to resolve the matter.

        Any dispute not resolved shall be presented by motion in accordance with the Court’s

Practices and Procedures (see web page at

http://www.pawd.uscourts.gov/sites/pawd/files/JudgeBissoon-Chamber-Rules-Revised-

20170214.pdf). For discovery motions (or any other type of motion), no briefing schedule will

issue. Discovery motions shall include copies of only those pertinent portions of depositions,

interrogatories, requests for admission and responses, et cetera, that are relevant to disposition of

the motion.

        8.      The provisions of Local Rule 16.1.D, regarding procedures governing the

inadvertent disclosure of privileged or trial preparation material, are hereby incorporated into this

Order, as if fully restated herein.



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       9.      A separate order addressing the timing and procedures for dispositive motions

will issue after the close of discovery.

       10.     A Post-Discovery Status Conference is scheduled for October 16, 2018 at

10:00 a.m. in Suite 3250. Prior to that conference, the parties shall meet and confer regarding

settlement of the case. In cases in which a party has demanded a JURY trial, counsel for

every party shall submit a position letter to this Court at least three (3) business days prior

to the Conference. The position letter shall set forth the following: (a) A brief recitation of the

facts; (b) A discussion of your party’s strengths and weaknesses; and (c) Your party’s settlement

posture. To ensure candor, the position letters are not to be filed nor shared with opposing

counsel, but rather emailed to: bissoon_external@pawd.uscourts.gov. All position letters will

be kept confidential.

       11.     In both JURY and NONJURY cases, the parties together shall prepare for

submission a Joint Proposed Settlement Agreement. The Proposed Agreement shall include

all necessary and material terms; however, terms that have not yet been agreed upon shall be

indicated by use of a blank line. The Proposed Agreement will not be filed, but rather, shall be

emailed to bissoon_external@pawd.uscourts.gov, at least three (3) business days prior to

the Conference. Counsel for the City of Pittsburgh shall be responsible for maintaining the

Proposed Agreement; emailing it to Chambers; and shall bring to the Conference a laptop

containing a Microsoft Word-compliant version of the final Agreement.

       12.     In all JURY cases, counsel and their clients, or persons with full settlement

authority (including insurance companies), MUST BE PRESENT at the Post-Discovery

Status Conference. A person with full settlement authority is not someone who is required to

consult with other individuals, by telephone or otherwise, to obtain approval for any proposed



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settlement term or amount. Absent Court approval in advance of the Conference, for good cause

shown, the Court will not entertain telephone participation in settlement negotiations. Any party

who fails to secure the attendance of person(s) with full settlement authority, may be summarily

assessed the costs and attorney’s fees of those parties who have secured such attendance, and the

Court, it its discretion, may reschedule the Conference to a date and/or time at which a person or

persons with full settlement authority will attend.

       13.       In NONJURY cases, the parties should not provide position statements and need

not bring clients or persons with settlement authority to the Post-Discovery Status Conference,

unless otherwise instructed by the Court.



April 26, 2018                                        s/Cathy Bissoon
                                                      Cathy Bissoon
                                                      United States District Judge

cc (via ECF email notification):

All Counsel of Record




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